         Case 6:19-bk-12831-WJ Doc 25 Filed 06/20/19                                Entered 06/20/19 21:38:34                Desc
                             Imaged Certificate of Notice                           Page 1 of 6
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-12831-WJ
SANDRA IRENE WILLSON                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-6                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 18, 2019
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2019.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: sandywillson@yahoo.com Jun 19 2019 03:39:05     SANDRA IRENE WILLSON,
                 22936 BROOKHOLLOW WAY,   MORENO VALLEY, CA 92557-1842
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2019 at the address(es) listed below:
              Kelsey X Luu   on behalf of Interested Party   Courtesy NEF Kelsey.Luu@mtglawfirm.com,
               Jenelly.Goldade@mtglawfirm.com;Kelsey.Luu@mtglawfirm.com
              Todd A. Frealy (TR)   taftrustee@lnbyb.com, taf@trustesolutions.net
              United States Trustee (RS)   ustpregion16.rs.ecf@usdoj.gov
                                                                                            TOTAL: 3
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 3                                                                        FILED & ENTERED
 4
                                                                                JUN 18 2019
 5
                                                                           CLERK U.S. BANKRUPTCY COURT
 6                                                                         Central District of California
                                                                           BY gooch      DEPUTY CLERK
 7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                                   CENTRAL DISTRICT OF CALIFORNIA

10                                             RIVERSIDE DIVISION

11

12     In re:                                           Case No.: 6:19-bk-12831-WJ

13     SANDRA WILSON,                                   CHAPTER 7

14                                     Debtor.
                                                             ORDER DENYING LIEN AVOIDANCE
15

16

17
18              Pursuant to 11 U.S.C. § 522(f) and LBR 9013-1(o), the debtor has filed a motion to avoid a

19     judicial lien of $PHULFDQ&RQWUDFWRU¶V,QGHPQLW\&RPSDQ\ ³$&,&´ on certain real property

20     (docket entry number 16). The motion is hereby denied without prejudice for the following

21     reasons:

22              1.      The evidentiary record is insufficient to conclude that an impaired exemption exists.

23     The motion pertains to real property but amended Schedule C does not list the address for any real

24     property. TKHVFKHGXOHDVVHUWVDQH[HPSWLRQLQD³KRPHVWHDG´EXWWKH³KRPHVWHDG´LVQRW

25     identified. No address is listed.

26              2.      Service of the motion is insufficient:

27                      a)      Service is improper. Rule 4003-2(c)(1) of the Local Bankruptcy Rules

28                ³/%5´ UHTXLUHVVHUYLFHWKDWFRmplies with Rule 7004 of the Federal Rules of




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 1           %DQNUXSWF\3URFHGXUH ³)5%3´ ZKLFK DPRQJRWKHUWKLQJV UHTXLUHVVHUYLFHXSRQWKH

 2           creditor. Service upon the attorney for the creditor (only) does not satisfy F.R.B.P. Rule

 3           7004. Beneficial Cal., Inc. v. Villar (In re Villar), 317 B.R. 88, 93 (9th Cir. BAP 2004)

 4           (holding that service of a section 522(f) motion does not comply with Rule 7004(b)(3)

 5           when the debtor failed to serve the creditor but did serve the attorney for the holder who

 6           represented the creditor in state court and obtained the judgment and judgment lien against

 7           the debtor); see also In re Bolden, 2014 Bankr. LEXIS 699 (Bankr. M.D.Fla 2014) (holding

 8           that service of a 522(f) motion upon a creditor at ³0DLQ6WUHHW$FTXLVLWLRQ&RUS

 9           Davinci &RXUW6XLWH1RUFURVV*$´GLGQRWFRPSO\ZLWK5XOH E  and

10           the additional service upon counsel for the creditor was insufficient).

11                   b)      The motion seeks to avoid a lien of ACIC pursuant to section 522(f) but,

12           according to the proof of service, the motion was not served upon any officer of the

13           lienholder (or any other individual of ACIC). Pursuant to F.R.B.P. Rule 7004(b)(3) and

14           7004(h), a moving party must serve the appropriate named officer of the lienholder.

15           Service that is not upon an officer is void. Beneficial Cal., Inc. v. Villar (In re Villar), 317

16           B.R. 88, 93 (9th Cir. BAP 2004) (reversing an order granting lien avoidance under section

17            I DQGKROGLQJWKDWVHUYLFHRID I PRWLRQXSRQ³%HQHILFLDO32%R[&LW\

18           of Industry, CA 91716-´GLGQRWFRPSO\ZLWK5XOH E  DQGVWDWLQJWKDW³VHUYLFH

19           was insufficient under the plain words of Rule 7004(b)(3). In order to assure that the party

20           being served is apprised of the pendency of an action, valid service requires more than to

21           DGGUHVVWKHGRFXPHQWWRDSRVWRIILFHER[´ Jacobo v. BAC Home Loans Servicing LP,

22           477 B.R. 533 (D.N.J. 2012) (holding that a confirmed chapter 13 plan which sought to

23           cramdown a mortgage on real property was not binding upon the secured creditor because

24           the debtor failed to serve an officer as required by Rule 7004(h) and, instead, only served

25           WKHFUHGLWRUDVIROORZV³%$&+RPH/RDQV&RXQWU\ZLGH$PHULFDQ6WUHHW69

26           Simi Valley, CA 93065, and Bank of America, 4161 Piedmont Pkwy NC4-105-01-34,

27           Greensboro, NC 27410-´ York v. Bank of America, N.A. (In re York), 291 B.R.
28           806, 811 %DQNU('7HQQ  KROGLQJWKDW³WKHRULJLQDOVXPPRQVZDVQRWDGGUHVVHG



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 1           to an officer by either name or title. As a result, it was not proper service under Rule

 2            E  ´  Braden v. General Motors Acceptance Corp., 142 B.R. 317 (Bankr. E.D.

 3           $UN  KROGLQJWKDWVHUYLFHRIDFRPSODLQWE\DGHEWRUXSRQ³the defendant General

 4           Motors Acceptance Corporation . . . at µP.O. Box 988, Blytheville, A5¶´IDLOHGWR

 5           comply with Rule 7004(b)(3)); see also In re Bolden, 2014 Bankr. LEXIS 699 (Bankr.

 6           0')OD  KROGLQJWKDWVHUYLFHRID I PRWLRQXSRQ³0DLQ6WUHHW$FTXLVLWLRQ

 7           &RUS'DYLQFL&RXUW6XLWH1RUFURVV*$´GLGQRWFomply with

 8           Rule 7004(b)(3) because no officer or individual was served); In re St. Louis, 2013 Bankr.

 9           LEXIS 3397 (Bankr. W.D. Tex. 2013) (holding that the debtor failed to comply with Rule

10           ZKHQLWVHUYHGDQREMHFWLRQWRDFODLPDVIROORZV³+RPH/RDQServices, Inc. c/o

11           Home Loan Services, Inc., PA9150-01-DW$OOHJKHQ\&HQWHU3LWWVEXUJK3$´

12           because no officer or individual was served); In re Smith, 2012 Bankr. LEXIS 6174, *13

13           (Bankr. E.D. Cal. 2012) (holding that a debtor who served a motion to extend the automatic

14           VWD\IDLOHGWRFRPSO\ZLWK5XOH K EHFDXVHWKHGHEWRUVHUYHGWKHPRWLRQXSRQ³¶:HOOV

15           )DUJR+RPH0RUWJDJH$&6¶E\)LUVW&ODVV0DLOQRWDGGUHVVHGWRWKHDWWHQWLRQRIDQ

16           officer, and sent to a Post Office Box in Des Moines, IRZD´ In re Sunde, 2007 Bankr.

17           LEXIS 3704, *5 (Bankr. W.D. Wis. 2007) (holding that service of an objection to claim to

18           ³*OHQ(-RKQVRQ&RQVWUXFWLRQ&RPPHUFH'ULYH+XGVRQ:,-´GLGQRW

19           satisfy Rule 7004(b)(3) ± even though the movant used precisely the information listed in

20           the proof of claim ± because the debtor failed to serve it upon an officer or agent); In re Sun

21           Healthcare Group, Inc. v. Mead Johnson Nutritional (In re Sun Healthcare Group, Inc.),

22           2004 Bankr. LEXIS 572, *18 (Bankr. D.Del. 2004) (granting a motion to set aside default

23           judgments because the debtor plaintiff did not serve an officer of the defendant and only

24           XVHGDSRVWRIILFHER[DQGVWDWLQJ³WKH'HEWRUVKDYHDGPLWWHGVHUYLQJ0HDGRQO\DW32

25           Box 751735, Charlotte, NC 28275, without addressing the documents to the attention of

26           any officer, managing or general agent of Mead. Mead asserts that this address is a lockbox

27           to receive payments, which is maintained and administered by a bank . . . Failure to address
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 1            the service of process to the attention of an officer or agent of Mead violates the statutory

 2            UHTXLUHPHQWVRI%DQNUXSWF\5XOH E  ´ 

 3            3.     If a new motion is filed, the following general matters should be considered

 4     whenever any section 522(f) motion is filed:

 5                   a)      Use the Court forms for 522(f) lien avoidance motions such as F 4003-

 6            2.1.AVOID.LIEN.RP.MOTION, F 4003-2.2.AVOID.LIEN.PP.MOTION, etc.

 7                   b)      L.B.R. Rule 4003-2(c)(1) requires service that complies with F.R.B.P.

 8            Rule 7004 which (among other things) requires service upon the creditor. The moving

 9            party should serve both the creditor and counsel of record. Serving counsel for a lienholder

10            only is not sufficient. See L.B.R. Rule 4003-2(c)(2) and F.R.B.P. Rule 7004(b); Beneficial

11            Cal., Inc. v. Villar (In re Villar), 317 B.R. 88, 93 (9th Cir. BAP 2004) (holding that service

12            of a section 522(f) motion does not comply with Rule 7004(b)(3) when the debtor failed to

13            serve the creditor but did serve the attorney who represented the creditor in state court and

14            obtained the judgment and judgment lien against the debtor).

15                   c)      When serving the creditor, serve the creditor at the address in the abstract of

16            judgment and, in addition, the agent for service of process for the creditor (which can

17            usually be obtained from the California Secretary of State website). See, e.g., F.R.B.P. Rule

18            7004(b)(3) & (8).

19                   d)      When serving counsel for the creditor, use the address on the abstract of

20            judgment and, if known, any more recent address. If the identity of counsel has changed,

21            serve the attorney identified in the abstract as well as new counsel.

22                   e)      Entities insured by the Federal Deposit Insurance Corporation must also be

23            served in the additional manner required by F.R.B.P. Rule 7004(h).

24                   f)      If the creditor has filed a proof of claim, serve the creditor at the designated

25            address on the proof of claim (in addition to the other service listed above). See F.R.B.P.

26            Rule 2002(g)(1)(A).

27                   g)      Serve the motion upon all lienholders and each attorney for each lienholder.
28            See L.B.R. Rule 4003-2(c)(2).



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 1                   h)      When serving businesses pursuant to F.R.B.P. Rule 7004(b)(3) or 7004(h) or

 2            other applicable rules, do not serve unnamed officers. Officers must be served by name.

 3            See In re Schoon, 153 B.R. 48 (Bankr. N.D. Cal. 1993).

 4                   i)      Attach a recorded copy of the abstract of judgment to the motion.

 5                   j)      Submit a declaration with the motion that authenticates all exhibits to the

 6            motion.

 7                   k)      The most effective method for submitting evidence of the value of real

 8            property is to submit an appraisal with a declaration of the appraiser which discusses the

 9            DSSUDLVHU¶VFUHGHQWials, provides an opinion of value and authenticates the written appraisal.

10     IT IS SO ORDERED.

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       Date: June 18, 2019
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